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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

WILLIAM T. COOPER, et al,                        )
                                                 )
           Plaintiff(s),                         )
                                                 )
    v.                                           )        No. 1:17 CV 73 ACL
                                                 )
SHERIFF CORY HUTCHESON,                          )
                                                 )
           Defendant.                            )
                                                 )

                    CASE MANAGEMENT ORDER - TRACK 2: STANDARD

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the

Differentiated Case Management Program of the United States District Court of the Eastern

District of Missouri, and the Rule 16 Conference held on December 17, 2018.

      IT IS HEREBY ORDERED that the following schedule or shall apply in this case, and

will be modified only upon a showing of exceptional circumstances:

      I.       SCHEDULING PLAN

      1.       This case has been assigned to Track 2 (Standard).

       2.     All motions for joinder of additional parties or amendment of pleadings shall be
filed no later than February 28, 2019.

     3.       Disclosure shall proceed in the following manner:

              (a) The parties shall make all disclosures required by Rule 26(a)(1), Fed. R. Civ.
P., no later than December 31, 2018.

            (b) Plaintiff shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed.R.Civ.P., no later than May 3, 2019, and shall make expert
witnesses available for depositions, and have depositions completed, no later than May 31,
2019.

            (c) Defendant shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed. R. Civ. P., no later than June 14, 2019, and shall make expert
witnesses available for depositions, and have depositions completed, no later than July 5, 2019.


           Please note that any motions filed under Daubert v. Merrell Don Pharmaceuticals,
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Inc., 509 U.S. 579 (1993) shall be filed not later than August 4, 2019.


             (d) The presumptive limits of ten (10) depositions per side as set forth in Rule
30(a)(2)(A), Fed. R. Civ. P., and twenty-five (25) interrogatories per party as set forth in Rule
33(a), Fed. R. Civ. P., shall apply.

           (e) Requests for physical or mental examinations of parties pursuant to Rule 35,
Fed.R.Civ.P. are not anticipated.

              (f)   The parties shall complete all discovery in this case no later than October 11,
2019.

             (g) Motions to compel shall be pursued in a diligent and timely manner, but in
no event filed more than eleven (11) days following the discovery deadline set out above.

       4.     Any motions to dismiss, for summary judgment or motions for judgment on the
pleadings must be filed no later than October 25, 2019. Opposition briefs shall be filed no later
than November 25, 2019; and any reply brief may be filed no later than seven (7) days after
the filing of the response, or no later than December 2, 2019.

        Local Rule 7-4.01(E) requires a statement of uncontroverted material facts (“SUMF”) to
accompany all motions for summary judgment and further requires the responding party to
admit or deny those alleged facts, in sequential order and with relevant citations to the record. If
cross-motions or multiple motions for summary judgment are filed, the first SUMF shall serve
as the master set; each subsequent SUMF shall adhere to the order of the master set, admitting
or denying said facts as necessary followed by any additional facts that a party may wish to
allege. If more than one SUMF is simultaneously filed, the parties shall meet, discuss, and
agree to a method of compliance with this provision. The Court will strike those SUMFs that
fail to comply.

        II.   ORDER RELATING TO TRIAL

       This action is set for a JURY trial on March 24, 2020, at 9:00 AM. This is a three (3)
day trial.


       This action is set for a Pretrial Conference on Friday, March 20, 2020 at 10:00 a.m. at
the Rush H. Limbaugh Sr. U.S. Courthouse, 555 Independence St., Cape Girardeau MO
63703,    Courtroom        4A.         All    parties   are    required   to   be    present.
      A.    In this case, unless otherwise ordered by the Court, the attorneys shall no later
than February 28, 2020, complete the following:


             1.     Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
Stipulation of all uncontested facts, which may be read into evidence subject to any objections
of any party set forth in said stipulation (including a brief summary of the case which may be
used on Voir Dire).

              2.    Witnesses:
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                   (a) Deliver to opposing counsel, and to the Clerk, a list of all proposed
witnesses, identifying those witnesses who will be called to testify and those who may be called.

                   (b) Except for good cause shown, no party will be permitted to call any
witnesses not listed in compliance with this Order.

            3.     Exhibits:

                    (a) Mark for identification all exhibits to be offered in evidence at the trial
(Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1, Deft.-A, or Pltf
Jones-1, Deft Smith-A, if there is more than one plaintiff or defendant), and deliver to opposing
counsel and to the Clerk a list of such exhibits, identifying those that will be introduced into
evidence and those that may be introduced. The list shall clearly indicate for each business
record whether the proponent seeks to authenticate the business record by affidavit or
declaration pursuant to Fed. R. Evid. 902(11) or 902(12).

                  (b) Submit said exhibits or true copies thereof, and copies of all affidavits
or declarations pursuant to Fed. R. Evid. 902(11)or 902(12), to opposing counsel for
examination. Prior to trial, the parties shall stipulate which exhibits may be introduced without
objection or preliminary identification, and shall file written objections to all other exhibits.

          4.    Pretrial Motions: Parties must file all pretrial motions on or before
February 28, 2020.

             5.    Trial Brief: Submit to the Court and opposing counsel a trial brief stating
the legal and factual issues and authorities relied on and discussing any anticipated substantive
or procedural problems.



      B.    The attorneys shall, no later than March 10, 2020, complete the following:

             1. Objections to Exhibits: Except for good cause shown, no party will be
permitted to offer any exhibits not identified or not submitted by said party for examination by
opposing counsel in compliance with this Order. Any objections not made in writing on or
before March 10, 2020 may be considered waived.


            2.     Depositions, Interrogatory Answers, and Request for Admissions:

                   (a) Deliver to opposing counsel and to the Clerk a list of all interrogatory
answers or parts thereof and depositions or parts thereof (identified by page and line numbers),
and answers to requests for admissions proposed to be offered in evidence. On or before
March 10, 2020, opposing counsel shall state in writing any objections to such testimony and
shall identify any additional portions of such depositions not listed by the offering party which
opposing counsel proposes to offer.

                  (b)    Except for good cause shown, no party will be permitted to offer any

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interrogatory answer, or deposition or part thereof, or answer to a request for admissions not
listed in compliance with this Order. Any objections not made as above required may be
considered waived.

             3.    Instructions: Submit to the Court and to opposing counsel their written
request for instructions and forms of verdicts reserving the right to submit requests for
additional or modified instructions on or before March 10, 2020 in light of opposing party’s
requests for instructions. (Each request must be supported by at least one pertinent citation.).

         4.    Motions In Limine: File all motions in limine to exclude evidence, on or
before March 10, 2020.

      Failure to comply with any part of this order may result in the imposition of sanctions.


Dated this 18th day of December, 2018.


                                                   ________________________________
                                                   ABBIE CRITES-LEONI
                                                   UNITED STATES MAGISTRATE JUDGE




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